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15                              UNITED STATES DISTRICT COURT

16                           NORTHERN DISTRICT OF CALIFORNIA

17                                   SAN FRANCISCO DIVISION

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19   MICHAEL KATZ-LACABE, ET AL.,                    Case No. 3-22-cv-04792-RS

20                    Plaintiffs,                    ORDER GRANTING MICHAEL
                                                     BURSHTEYN’S WITHDRAWAL AS
21          v.                                       COUNSEL FOR DEFENDANT
                                                     ORACLE AMERICA, INC.
22   ORACLE AMERICA, INC., a corporation
     organized under the laws of the State of        Judge: Hon. Richard Seeborg
23   Delaware,
                                                     Date:
24                    Defendant.                     Time:
                                                     Courtroom: 3
25
                                                     Date Action Filed: August 19, 2022
26                                                   SAC Filed: November 17, 2023
                                                     Trial Date: Not set
27

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     ORDER GRANTING MICHAEL BURSHTEYN WITHDRAWAL CASE NO.
     3-22-CV-04792-RS
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     ORDER GRANTING MICHAEL BURSHTEYN WITHDRAWAL CASE

     NO. 3-22-CV-04792-RS
     Case 3:22-cv-04792-RS          Document 126        Filed 06/04/24     Page 3 of 3



 1          The Court, having considered Defendant Oracle America, Inc.’s (“Oracle”) notice
 2   requesting that Michael Burshteyn be relieved as counsel and further noting that Oracle will

 3   continue to be represented by counsel from Morrison & Foerster LLP and Oracle, rules as
     follows:
 4

 5          IT IS HEREBY ORDERED that Michael Burshteyn is permitted to withdraw as counsel

 6   for Oracle in the above-captioned action pursuant to L.R. 11-5. The Clerk is directed to remove

 7   Mr. Burshteyn from the ECF distribution list for this action.

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10           June 4, 2024
     Dated: __________________
                                                            Honorable Richard Seeborg
11                                                          United States District Judge
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     ORDER GRANTING MICHAEL BURSHTEYN WITHDRAWAL CASE NO.
     3-22-CV-04792-RS
